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                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

                                         )
ClARA DITMORE,                           )
                                         )      CIVIL ACTION NO.
         Plaintiff,                      )
                                         )
vs.                                      )
                                         )
                                         )
GC SERVICES, LP.;                        )      COMPLAINT AND
and DOES 1 tolO, inclusive,              )      DEMAND FOR JURy
                                         )      TRIAL
                                         )
         Defendants,                     )
                                         )




                                 COMPLAINT


                                I. INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff,

         Ciara Ditmore, an individual consumer, against Defendant, GC

         Services, LP., for violations of the Fair Debt Collection Practices Act,

         15 U.S.C. § 1692 et seq. (hereinafter "FDCPA"), which prohibits

         debt collectors from· engaging in abusive, deceptive, and unfair

         practices.
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                           IL JURISDICTION

2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28

   U.S.C. § 1337. Declaratory relief is available pursuant to 28 U.S.C. §§

   2201 and 2202. Venue in this District is proper in that the Defendant

   transacts business here, and the conduct complained of occurred here.



                             IlL   PARTIES

3. Plaintiff, Ciara Ditmore, isa natural person with a permanent

   residence in Ringgold, Catoosa County, Georgia 30736.

4. Upon information and belief, the Defendant, GC Services, LP, is a

   corporation engaged in the business of collecting debt in this state and

   in several other states, with its principal place of business located at

   6330 Gulfton St., Suite 300 Houston, Harris County, Texas 77081.

  The principal purpose of Defendant is the collection of debts in this

   state and several other states, and Defendant regularly attempts to

   collect debts alleged to be due another.

5. Defendant is engaged in the collection of debts from consumers using

  the mail and telephone.       Defendant regularly attempts to collect

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   consumer debts alleged to be due to another. Defendant is a "debt

   collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                   IV.      FACTUALALLEGATIONS

6. The debt Defendant is attempting to collect on is an alleged obligation

   of a consumer to pay money arising out of a transaction in which the

   money, property, insurance or services which are the subject of the

   transaction are primarily for personal, family, or household purposes,

   whether or not such obligation has been reduced to judgment.

7. Within one (1) year preceding the date of this Complaint, Defendant,

   in connection with the collection of the alleged debt, contact Plaintiff

   and threatened to garnish Plaintiff's wages.

8. Defendant has no standing to commence garnishment proceedings on

   behalf ofthe creditor.

9. Defendant is a debt collection company and as a debt collection

   company attempting to collection an alleged debt, Defendant can only

   refer the matter back to the creditor with a recommendation that the

   original creditor attempt legal proceedings which could result in

   garnishment.




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10.The representations made to Plaintiff by Defendant regarding legal

  proceedings were false.

11. The natural consequences of Defendant's statements and actions were

  to unjustly condemn and vilify Plaintiff for her non-payment of the

  debt she allegedly owed.

12.The natural consequences of Defendant's statements and actions were

  to produce an unpleasant and/or hostile situation between Defendant

  and Plaintiff.

13. The natural consequences of Defendant's statements and actions were

  to cause Plaintiff mental distress.

14.Defendant utilized unfair and unconscionable means to collect on

  Plaintiffs alleged debt, by lying to and misleading Plaintiff.

                   V. FIRST CLAIM FOR RELIEF

1S.Plaintiff repeats and realleges and incorporates by reference to the

  foregoing paragraphs.

16.Defendants violated the FDCPA. Defendants' violations include, but

  are not limited to, the following:

         (a) Defendant violated §1692d of the FDCPA by engaging in

            conduct the natural consequences of which is to harass,

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        oppress, or abuse any person in connection with the

        collection of an alleged debt; and

     (b) Defendant violated §1692d(2) of the FDCPA by usmg

        obscene or profane language or language the natural

        consequences of which is to abuse the hear or reader in

        connection with the collection of an alleged debt; and

     (c) Defendant violated § 1692e of the FDCPA by using a false,

        deceptive, or misleading representation or means          III


        connection with the collection of the alleged debt; and

     (d) Defendant violated §1692e(4) of the FDCPA by giving the

        false representation or implication that nonpayment of the

        alleged debt will result in the garnishment of wages of any

        person when such action is unlawful and the Defendant does

        not intend to take such action; and

     (e) Defendant violated §1692e(5) of the FDCPA by threatening

        to take action that the Defendant does not intend to take

        and/or the Defendant cannot legally take; and




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            (f) Defendant violated §1692e(JO) of the FDCPA by using false

               representation or deceptive means in connection with the

               collection the alleged debt; and

            (g) Defendant violated §1692Jofthe FDCPA by using unfair or

               unconscionable means in connection with the collection of

                an alleged debt; and


   17.Defendant's acts as described above were done intentionally with the

      purpose of coercing Plaintiffto pay the alleged debt.

   18. As a result of the foregoing violations of the FDCPA, Defendant is

      liable to the Plaintiff, Ciara Ditmore, for declaratory judgment that

      Defendant's conduct violated the FDCPA, actual damages, statutory

      damages, and costs and attorney fees.



WHEREFORE, Plaintiff respectfully requests that judgment be entered

against Defendant, GC Services, LP., for the following:

   A. Declaratory judgment that Defendant's conduct violated the FDCPA.

   B. Actual damages.

   C. Statutory damages pursuant to 15 U.S.C. § 1692k.

   D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

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   E. Awarding Plaintiff any pre-judgment and post-judgment interest as

      may be allowed under the law.

   F. For such other and further relief as the Court may deem just and

      proper.

                     VI.   DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Ciara Ditmore, demands trial by jury in this

action.


DATED: September 11,2012

                                       RESPECTFULLY SUBMITTED,
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